         Case 1:23-cr-00061-MN Document 58-1 Filed 11/15/23 Page 1 of 6 PageID #: 1157
AO 89B () Subpoena to Produce Documents, Information, or Objects in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                          DistrictDistrict
                                                     __________    of Delaware
                                                                           of __________
                  United States of America                                 )
                             v.                                            )
                     Robert Hunter Biden                                   )        Case No. 23-cr-00061-MN
                                                                           )
                             Defendant                                     )
                              SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
                                         OBJECTS IN A CRIMINAL CASE
To:     Donald John Trump

                                                      (Name of person to whom this subpoena is directed)

      YOU ARE COMMANDED to produce at the time, date, and place set forth below the following books, papers,
documents, data, or other objects:
See Attachment A


Place: Winston & Strawn LLP                                                         Date and Time: 12/01/2023 5:00 pm
         c/o Abbe David Lowell, Esq.
         1901 L St NW
         Washington, DC 20036
         Certain provisions of Fed. R. Crim. P. 17 are attached, including Rule 17(c)(2), relating to your ability to file a
motion to quash or modify the subpoena; Rule 17(d) and (e), which govern service of subpoenas; and Rule 17(g),
relating to your duty to respond to this subpoena and the potential consequences of not doing so.
           (SEAL)

Date:
                                                                                    CLERK OF COURT


                                                                                                Signature of Clerk or Deputy Clerk


The name, address, e-mail, and telephone number of the attorney representing (name of party)     Robert Hunter Biden
                                                                                      , who requests this subpoena, are:
 Abbe David Lowell, Esq.
 AbbeLowellPublicOutreach@winston.com; (202) 282-5000

                                  Notice to those who use this form to request a subpoena
Before requesting and serving a subpoena pursuant to Fed. R. Crim. P. 17(c), the party seeking the subpoena is advised to
consult the rules of practice of the court in which the criminal proceeding is pending to determine whether any local rules
or orders establish requirements in connection with the issuance of such a subpoena. If no local rules or orders govern
practice under Rule 17(c), counsel should ask the assigned judge whether the court regulates practice under Rule 17(c) to
1) require prior judicial approval for the issuance of the subpoena, either on notice or ex parte 2) specify where the
documents must be returned (e.g., to the court clerk, the chambers of the assigned judge, or counsel’s office); and 3)
require that counsel who receives produced documents provide them to opposing counsel absent a disclosure obligation
under Fed. R. Crim. P. 16.

Please note that Rule 17(c) (attached) provides that a subpoena for the production of certain information about a victim
may not be issued unless first approved by separate court order.
         Case 1:23-cr-00061-MN Document 58-1 Filed 11/15/23 Page 2 of 6 PageID #: 1158
AO 89B () Subpoena to Produce Documents, Information, or Objects in a Criminal Case (Page 2)

Case No.      23-cr-00061-MN


                                                             PROOF OF SERVICE

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                  .

          u I served the subpoena by delivering a copy to the named person as follows:


                                                                                 on (date)                                    ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                            .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                    .

My fees are $                                   for travel and $                             for services, for a total of $          0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                    Server’s signature



                                                                                               Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
         Case 1:23-cr-00061-MN Document 58-1 Filed 11/15/23 Page 3 of 6 PageID #: 1159
AO 89B () Subpoena to Produce Documents, Information, or Objects in a Criminal Case (Page 3)



                        Federal Rule of Criminal Procedure 17 (c), (d), (e), and (g) (Effective 12/1/08)
(c) Producing Documents and Objects.

     (1) In General. A subpoena may order the witness to produce any books, papers, documents, data, or other objects the subpoena
     designates. The court may direct the witness to produce the designated items in court before trial or before they are to be offered in
     evidence. When the items arrive, the court may permit the parties and their attorneys to inspect all or part of them.

     (2) Quashing or Modifying the Subpoena. On motion made promptly, the court may quash or modify the subpoena if compliance
     would be unreasonable or oppressive.

     (3) Subpoena for Personal or Confidential Information About a Victim. After a complaint, indictment, or information is filed, a
     subpoena requiring the production of personal or confidential information about a victim may be served on a third party only by court
     order. Before entering the order and unless there are exceptional circumstances, the court must require giving notice to the victim so that
     the victim can move to quash or modify the subpoena or otherwise object.

(d) Service. A marshal, a deputy marshal, or any nonparty who is at least 18 years old may serve a subpoena. The server must deliver a copy
of the subpoena to the witness and must tender to the witness one day’s witness-attendance fee and the legal mileage allowance. The server
need not tender the attendance fee or mileage allowance when the United States, a federal officer, or a federal agency has requested the
subpoena.

(e) Place of Service.

     (1) In the United States. A subpoena requiring a witness to attend a hearing or trial may be served at any place within the United
     States.

     (2) In a Foreign Country. If the witness is in a foreign country, 28 U.S.C. § 1783 governs the subpoena's service.

(g) Contempt. The court (other than a magistrate judge) may hold in contempt a witness who, without adequate excuse, disobeys a subpoena
issued by a federal court in that district. A magistrate judge may hold in contempt a witness who, without adequate excuse, disobeys a
subpoena issued by that magistrate judge as provided in 28 U.S.C. § 636(e).
Case 1:23-cr-00061-MN Document 58-1 Filed 11/15/23 Page 4 of 6 PageID #: 1160




                                        ATTACHMENT A

                                           DEFINITIONS

       1.      “Communication” and “communications” shall mean the transmittal of information

(in the form of facts, ideas, inquiries or otherwise).

       2.      “Document” and “documents” shall have the same meaning as the term “documents

or electronically stored information” in Fed. R. Civ. P. 34(a)(1)(A). That is, writings, drawings,

graphs, charts, photographs, sound recordings, images, and other data or data compilations—

stored in any medium from which information can be obtained either directly or, if necessary, after

translation by the responding party to a reasonably usable form. “Document” and “documents”

also include without limitation emails and other forms of electronic communication (such as

deleted emails, instant messages, text messages, MMS messages, SMS messages, BlackBerry

Messages (“BBMs”), WhatsApp messages, Signal messages, Telegram messages, Twitter direct

messages, Instagram direct messages, and any communication via social or professional network

sites or systems), as well as voicemail.

       3.      “Hunter Biden” shall mean the individual Robert Hunter Biden, the son of United

States President Joseph R. Biden, Jr.

       4.      “Records” shall mean documents, memoranda, communications, writings, or other

files, including as described in Definition Nos. 1 and 2 above.

       5.      “Relevant Time Period” shall mean the time period January 20, 2017 to the present.

       6.      “Subpoena Recipient” shall mean either Donald John Trump, William P. Barr,

Richard Donoghue, or Jeffrey A. Rosen individually (and collectively, the “Subpoena Recipients”).

       7.      “You” or “Your” shall mean the individual(s) described in Definition No. 6 above.




                                                 1
Case 1:23-cr-00061-MN Document 58-1 Filed 11/15/23 Page 5 of 6 PageID #: 1161




                                      INSTRUCTIONS

       1.     Unless otherwise stated, this request seeks documents, communications and records

from the time period January 20, 2017 to the present (the “Relevant Time Period”).

       2.     In responding to this request, You are directed to produce all documents in Your

possession, custody or control, including documents and materials in the possession of Your

employees, agents, servants, and/or representatives.

       3.     If any portion of a document is considered responsive to any request, the request

shall be construed as requesting production of the entire document.

       4.     Documents shall be produced as they are kept in the usual course of business.

       5.     Any document that contains any notation, addition, insertion, or marking of any

kind is not deemed to be identical to one without such marks, and is to be produced as a separate

document.

       6.     Whenever a document has been withheld because the request is objected to on the

grounds of an applicable privilege, work product or confidentiality, or any other grounds:

              a. identify the document;

              b. describe the nature of the document (e.g., letter, chart, memorandum);

              c. identify the privilege and any statute, rule or decision upon which You rely in

                  withholding the document and state the factual basis supporting the privilege

                  claimed;

              d. set forth each request to which each such document is responsive;

              e. state the date of the document;

              f. describe the subject matter of the document;




                                               2
Case 1:23-cr-00061-MN Document 58-1 Filed 11/15/23 Page 6 of 6 PageID #: 1162




               g. identify the author(s), the recipient(s), and all person(s) who received copies of

                   the document; and

               h. If part of an otherwise responsive document contains information that is subject

                   to a claim of privilege, those parts of the document subject to the claim of

                   privilege shall be redacted from the document, the redacted parts shall be clearly

                   marked as such, and the rest of the document shall be produced.

       7.      Each of these requests seeks all documents, wherever located, which are in Your

actual or constructive possession, custody or control, as well as all documents which are known to

exist and can be obtained by You from any other source.


                                 DOCUMENTS REQUESTED

        1.     All documents and records (personal or official platforms) reflecting
communications from the Relevant Time Period to, from, between, or among the Subpoena
Recipient relating to or discussing any formal or informal investigation or prosecution of Hunter
Biden, including, but not limited to, any decision, referral, or request to investigate or not
investigate or charge or not charge Hunter Biden.

       2.     All documents and records (personal or official platforms) reflecting
communications from the Relevant Time Period to, from, between, or among the Subpoena
Recipient and any Executive Branch official, political appointee, Department of Justice official,
government agency, government official or staff person, cabinet member, or attorney for President
Trump (personal or other) discussing or concerning Hunter Biden.

        3.      All personal records (including diaries, journals, memoirs, memoranda, or notes)
from the Relevant Time Period discussing or concerning Hunter Biden, including, but not limited
to, reference to any formal or informal decision, discussion, or request to investigate or prosecute
Hunter Biden.

       4.     Any documents and records produced by the Subpoena Recipient to the House
Select Committee to Investigate the January 6th Attack on the United States Capitol that reference
or discuss Hunter Biden.




                                                 3
